     Case 6:09-cr-00023-LGW-CLR Document 96 Filed 09/06/11 Page 1 of 1




                UNITED STATES DISTRICT COURT                             211SEP,y:17

                SOUTHERN DISTRICT OF GEORGIA                         C
                                                                          so. L.:;o
                       STATE SEORO DIVISION


      WILLIAMS BRINSON,             )
                                    )
V.                                  )      Case No. CV611-049
                                    )                CRGO9-023
         STATES OF AMERICA          )


                                ORDER
      After a careful de novo review of the record in this case, the Court

         with the Magistrate Judge's Report and Recommendation, to which

Lw        s have been filed. Accordingly, the Report and Recommendation of

     Magistrate Judge is adopted as the opinion of the Court.

      SO ORDERED this              ay of                   , 2011.



                                     AVAWr EDEIELD
                                   UNITED STATES DISTRICT
                                   SOUTHERN DISTRICT OF
